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March 24, 2022

Via CM/ECF

The Honorable Lewis A. Kaplan
U.S. District Court for the Southern District of New York
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, NY 10007

       RE:     Marvel Characters, Inc. v. Lieber, No. 1:21-cv-07955-LAK

Dear Judge Kaplan:

Defendant Lawrence D. Lieber (“Lieber”) hereby opposes Marvel Characters, Inc.’s (“Marvel”) motion
to consolidate three distinct cases: Marvel Characters, Inc. v. Lieber, No. 21-cv-07955 (Sept. 24, 2021);
Marvel Characters, Inc. v. Dettwiler, No. 21-cv-07959 (Sept. 24, 2021); and Marvel Characters, Inc. v.
Ditko, No. 21-cv-07957 (Sept. 24, 2021).1

While each of these cases involves the exercise of an author’s termination rights under the Copyright Act
by defendants Lieber, Keith A. Dettwiler, and Patrick S. Ditko, each case involves different relevant facts,
including but not limited to, distinctive literary works, different publishing entities and original copyright
registrants, differing professional histories and working relationships, under which each creator sold his
works. While serving Marvel’s revisionism, it contravenes the truth-seeking function of Federal
jurisprudence, to paint the artists/writers Steve Ditko (“Ditko”), Don Heck (“Heck”), and Lieber
(collectively hereinafter, the “Creator(s)”) with a broad brush and lump each of their unique situations
together. Neither they, their many different works at issue, nor the circumstances of the works’ origination
and implementation are fungible. Its motion notwithstanding, Marvel must also believe that these three
cases are distinct and should be treated as such because it was Marvel which voluntarily chose to file
separate actions as to each Creator in this district in the first place.

Consolidation of these three distinct legal actions is inappropriate for several evident reasons. First, while
there may exist some similar questions, the individual issues of fact in each case predominate. Each case
presents significant differences, both obvious and subtle, that Marvel hopes to obscure in the shuffle.
Second, consolidation would lead to unfair results for each defendant because the risk of prejudice and
confusion between these cases is considerable. Third, consolidation is inappropriate because it would

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 Marvel’s motion incorrectly named Stephen J. Ditko and Donald L. Heck as “defendants” in the Ditko
and Dettwiler cases, respectively. Ditko and Heck are not defendants, rather, they are the deceased
creators whose work is in question in these matters. This mistake is glaring given Marvel’s argument that
consolidation will not result in any confusion. To the contrary, it is emblematic of the confusion and
imprecision this Court can come to expect should these distinct cases be consolidated.
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curtail and adversely affect each defendant’s substantive and procedural rights.

Notwithstanding the above, defendants are in favor of the efficient use of evidence and depositions across
the cases and of course would agree to minimize redundancies whenever it reasonably makes sense to
do so. For instance, the parties have discussed and defendants are amenable to an agreement whereby
any deposition taken in any case will be available for use in the other cases. Defendants also believe that
redundant depositions of the same witness in the different cases should be avoided.

For these reasons and those that follow, this Court should not consolidate these three cases.

                                       STATEMENT OF FACTS

As stated, each of these cases involves different facts, including, but not limited to, different Creators,
distinctive works, differing professional histories, relationships and circumstances under which each
Creator authored his material.

The Marvel of today is not the “Marvel” of the 1960s and 1970s, when the works in question were created
by freelancers at home and then sold for publication.2 In the early 1960s Marvel’s failing comic book
business was nearly insolvent and on the brink of dissolution. For much of the 1960s, for instance,
Marvel’s predecessor consisted of one employee, until 1966 when it expanded to two employees,
working from a miniscule office. Lieber Countercl., ¶ 27. Notwithstanding this, its showman-editor Stan
Lee (“Lee”), repeatedly promoted a non-existent Marvel “Bull-Pen” of employees, and the “Marvel
Method,” which many view as a method to avoid paying artists writing fees for the stories they plotted.

Indeed, while Marvel may be the named plaintiff in each of the three distinct cases, Marvel is a mere
alleged successor to the numerous different shell companies used for the publication and/or original
copyright registrations of the works in question. Such entities include without limitation Vista
Publications, Inc., Inc., Cadence Industries Corp., Marvel Comics Group, Non-Pareil Publishing Corp.,
Canam Publishers Sales Corp., Magazine Management Co. and Atlas Magazines, Inc. 3 To further
complicate matters, the works produced by the Creators were sometimes purchased by one entity,
published by a second entity, and registered with the United States Copyright Office by a third shell
company. Lieber Countercl., ¶¶ 28-29.

The Creators thus worked with varying publishing entities at different times. For example, Heck began
selling his work in or around 1954 until at least 1975.4 Heck worked on his own premises with his own
materials and only sold his material once it was completed. Id., ¶ 34. Heck worked this way in an on-

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 Answer & Countercl., ECF No. 32, Marvel Characters, Inc. v. Lieber, No. 21-cv-07955 (Dec. 7, 2021)
(“Lieber Countercl.”), ¶¶ 26-27.
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  See Compl. For Decl. Relief, Exs. 2-9, ECF No. 1, Marvel Characters, Inc. v. Lieber, No. 21-cv-07955
(Sept. 24, 2021); Compl. For Decl. Relief, Exs. 2-4, ECF No. 1, Marvel Characters, Inc. v. Dettwiler,
No. 21-cv-07959 (Sept. 24, 2021); Compl. For Decl. Relief, Exs. 2-6, ECF No. 1, Marvel Characters,
Inc. v. Ditko, No. 21-cv-07957 (Sept. 24, 2021).
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 Answer & Countercl., ECF No. 29, Marvel Characters, Inc. v. Dettwiler, No. 21-cv-07959 (Dec. 7,
2021) (“Dettwiler Countercl.”), ¶ 23.
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again-off-again manner, leaving and returning, while also selling his work to Marvel’s chief competitor,
DC Comics.

Ditko began selling his work to “Marvel” in 1957 until 1966. 5 Ditko was known to work very
independently, often rejecting any attempts by others to modify his work. Id., ¶¶ 42-44. For instance, it
is well known that Ditko independently created the character/work, Doctor Strange, and submitted it to
Marvel for publication. Id., ¶¶ 40-41. While Ditko was selling his work to “Marvel,” he and Lee, an
editor for one of the entities, were regularly at odds. Their quarrelling continued until Ditko refused to
communicate with Lee any longer and would only submit his work for publication to “Marvel” by mail.
Id., ¶ 44. Indeed, in a very public row, Ditko refused to sell any further work to Marvel because Marvel
failed to pay Ditko the royalties Martin Goodman (“Goodman”), its founder, had promised Ditko for his
creation of Spider-Man. Howe, Sean, Marvel Comics: The Untold Story, 54 (Harper Perennial, 2013).

Lieber, Lee’s brother and Goodman’s cousin, began selling his work to “Marvel” in 1958 until 1974
when he became an editor for a competitor. Far from the professional and contentious relationships Heck
and Ditko, respectively, had with “Marvel,” Lieber’s was a more informal and amicable one. Lieber never
entered into any employment or any other engagement agreement with Marvel’s predecessors. Lieber
Countercl., ¶ 31. Lieber began to work with Marvel with very little experience and built many of his
skills under the tutelage of other artists and writers. Lieber was not guaranteed a salary, wage, or
compensation for his time or work. Id., ¶ 33. Lieber created his work at home, on his own time, and at
his own expense. Id., ¶¶ 33-34.

Marvel would never waive any of its rights or remedies though it continues to pressure defendants to do
so. It is critical to a just resolution of each of these three cases that they not be consolidated.

                                          LEGAL STANDARD

While a trial court pursuant to F.R.C.P. 42(a) has discretion to determine whether consolidation is
appropriate, “the discretion to consolidate is not unfettered. Considerations of convenience and economy
must yield to a paramount concern for a fair and impartial trial.” Malcolm v. Nat’l Gypsum Co., 995 F.2d
346, 350 (2d Cir. 1993) (citing Johnson v. Celotex Corp., 899 F.2d 1281, 1284-85 (2d Cir. 1990)).

“Before a court orders consolidation, it must consider several factors and determine, inter alia, whether
the gains in efficiency and economy are outweighed by the risks of prejudice and possible confusion.”
Rodriguez v. Draftkings Inc., 2021 WL 5282006, 2021 U.S. Dist. LEXIS 219489, at *8-9 (S.D.N.Y. Nov.
12, 2021) (citing Johnson, 899 F.2d at 1284.); see also Malcolm, 995 F.2d at 350 (“The benefits of
efficiency can never be purchased at the cost of fairness.”). Furthermore, “[u]nder Second Circuit law, a
party moving for consolidation must bear the burden of showing the commonality of factual and legal
issues in different actions, and a district court must examine the special underlying facts with close
attention before ordering a consolidation.” Liberty Media Corp. v. Vivendi Universal, S.A., 842 F. Supp.
2d 587, 592 (S.D.N.Y. 2012) (internal quotations omitted).

In all instances, including the copyright termination context, the work-for-hire analysis is a fact-intensive

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 Answer & Countercl., ECF No. 24, Marvel Characters, Inc. v. Ditko, No. 21-cv-07957 (Dec. 7, 2021)
(“Ditko Countercl.”), ¶ 23.

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inquiry requiring the Court to review the individual working relationships and circumstances of creation
of differing works by Lieber, Heck, and Ditko, respectively. See Urbont v. Sony Music Entm’t, 831 F.3d
80, 90 (2d Cir. 2016) (“Ultimately, our case law counsels against rigid application of these [work for hire]
principles. Whether the instance and expense test is satisfied turns on the parties’ creative and financial
arrangement as revealed by the record in each case.”) (internal quotation marks omitted); Marvel
Characters, Inc. v. Kirby, 726 F.3d 119, 140 (2d Cir. 2013) (same).

The risk of confusion is greatest when, as here, the relevant facts applicable to the respective parties
differ. 8 Moore’s Federal Practice - Civil § 42.10 (2022) (citing Seguro de Servicio de Salud v. McAuto
Sys. Group, Inc., 878 F.2d 5, 9 (1st Cir. 1989)). Thus, consolidation is improper when the evidence is
specific and unique to each party and individual issues of fact predominate. Webb v. Goord, 197 F.R.D.
98, 100-01 (S.D.N.Y. 2000); In re Consol. Parlodel Litig., 182 F.R.D. 441, 444 (D.N.J. 1998) (“Even
where cases involve some common issues of law or fact, consolidation may be inappropriate where
individual issues predominate.”).

Fairness and the truth-seeking function of Federal jurisprudence are paramount in determining the
propriety of consolidation. In re Brooklyn Navy Yard Asbestos Litig. (Joint E. & S. Dist. Asbestos Litig.),
971 F.2d 831, 853 (2d Cir. 1992) (stating that the urge to aggregate litigation must not be allowed to
trump the court’s dedication to individual justice).

      THE COURT SHOULD NOT CONSOLIDATE THESE THREE DISTINCT CASES

Consolidating Lieber, Dettwiler, and Ditko would cause confusion, be unfair, and impair defendants’
Federal substantive and procedural rights.

First, consolidation of these cases is inappropriate because individual questions of fact predominate. It
is well settled that whether a work is “made for hire” under the 1909 Act presents a highly fact-intensive
inquiry because the issue turns on the “intent of the parties” when the works were created. Martha
Graham Sch. & Dance Found., Inc. v. Martha Graham Ctr. of Contemporary Dance, Inc., 380 F.3d 624,
634 n.17 (2d Cir. 2004); 1 M. Nimmer & D. Nimmer, Nimmer on Copyright §5.03[B][2][c] at 5-
56.1(“work for hire” under the 1909 Act “always turn[s] on the intention of the parties.”).

When cases involve some common facts but individual issues predominate, consolidation should be
denied. Webb, 197 F.R.D. at 100-01; see also Liberty Lincoln Mercury v. Ford Mktg. Corp., 149 F.R.D.
65, 81 (D.N.J. 1993) (refusing to consolidate actions by car dealers against one car manufacturer based
on manufacturer’s warranty reimbursement policy because “liability must be determined on a Dealer-by-
Dealer, part-by-part, sale-by-sale basis, with consideration of facts that are highly specific to individual
dealers”); In re Consol. Parlodel Litig., 182 F.R.D. at 445-46 (refusing to consolidate similar cases
against one defendant-drug company because evidence of injury was specific to each plaintiff’s case and
“[t]hus it was clear that individual issues in these cases will predominate.”). Here, while Lieber, Heck,
and Ditko may have sold their work to Marvel’s varying predecessors for publication and may have been
paid per page, scrutiny of each of their situations reveals few other similarities.

With respect to the distinct works and Creators at issue in these different cases, Ditko plotted his own
stories and characters and notoriously refused to take editing notes from Lee. Ditko Countercl., ¶¶ 42-44.
Lieber, on the other hand, worked more informally with family members Lee and Goodman, in producing
his work for publication. Lieber Countercl., ¶¶ 31, 33. Heck sold his works to Marvel in an on-again-off-

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again fashion over the span of more than two decades (Dettwiler Countercl., ¶ 23), and also worked with
Marvel’s chief competitor, DC Comics.

Due to the fact-specific inquiry and minimal overlap between these three cases, the Court will need to
engage in a detailed analysis of the personal and professional histories and situations of each Creator to
determine whether Marvel has any rights to any of the hundreds of characters and comics books each
produced. Viewed individually, these three cases are involved, if not complex; taken together, they
become unmanageable.

Even to the extent some facts may coincide, they are not the same. Indeed, any similarity between the
cases actually militates against consolidation as it increases the risk of confusion and misapprehension.
See Flintkote Co. v. Allis-Chalmers Corp., 73 F.R.D. 463, 465 (S.D.N.Y. 1977) (noting, in refusing to
consolidate cases, that although the “two [cement plants] use[d] a common process and technology and
the deficiencies at both plants were failures of conception and design[,] these failure[s] manifested
themselves in different ways at each plant” and thus, consolidation would cause confusion).

Second, the interests of justice weigh against consolidation because consolidation would impair each
defendant’s rights and thereby prejudice their cases. While important, “efficiency cannot be permitted to
prevail at the expense of justice -- consolidation should be considered when savings of expense and gains
of efficiency can be accomplished without sacrifice of justice.” Devlin v. Transp. Communs. Int’l Union,
175 F.3d 121, 130 (2d Cir. 1999) (internal quotations omitted); see also Flintkote, 73 F.R.D. at 464
(“consolidation should not be ordered if it would prejudice defendant”). In these cases, Heck, Lieber, and
Ditko each had their own distinct working relationships with Lee and Marvel’s various alleged
predecessors. Lieber Countercl., ¶¶ 23, 26-29, 31, 33-34; Dettwiler Countercl., ¶¶ 23, 26-29, 34; Ditko
Countercl., ¶¶ 23, 26-29, 40-44. In pushing for consolidation under the guise of “efficiency,” Marvel is
actively seeking to whitewash these distinctions in service of Marvel’s revisionist goals.

In addition, each of the defendants would be prejudiced by the procedural limitations of consolidation.
Specifically, all defendants would be forced to have their entire cases crammed into one summary
judgment motion and/or be crowded into a single trial. Consolidation thus creates two likely prejudicial
outcomes. First, if defendants were required to discuss the details of each Creator’s working relationship
with “Marvel,” and to address the creation of numerous separate comic books and characters over the
span of decades in one document or trial, the likelihood of confusion as to who did what, when and how,
would be considerable. Second, to address such confusion, the temptation will be to genericize distinct
facts, losing details critical to the analysis of each case. Both would be prejudicial. Malcolm, 995 F.2d at
350 (“The systemic urge to aggregate litigation must not be allowed to trump our dedication to individual
justice, and we must take care that each individual plaintiff’s -- and defendant’s -- cause not be lost. . . .”).

As work for hire is the sole exemption to an author’s statutory termination rights under the Copyright
Act, 17 U.S.C. § 304(c), Marvel as the “party claiming [this] exception,” “bear[s] the burden of proof”
on it. Woods v. Bourne Co., 60 F.3d 978, 993-94 (2d Cir. 1995) (discussing exception to the termination
right). It is also a fundamental principle of copyright law that a putative employer’s authorship of “work
for hire” adheres at the time of its creation—the focal point of this inquiry. Harper & Row, Publrs. v.
Nation Enters., 471 U.S. 539, 547, 105 S. Ct. 2218, 2224 (1985). Thus, the “instance” prong of the
“instance and expense test” for work for hire, advocated by Marvel, examines a publisher’s putative
control over each Creator’s artistic creation of each work, not control over money, the assembling or
publication of artistic material after creation. “Instance” also does not refer to a publisher’s purchasing

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power or the ultimate control every publisher has over whether to accept and publish a work; it refers to
the much more specific actual creative process. See 2 W. Patry, Patry on Copyright § 5:54 (Every
publisher “ultimately has the ability to ‘control’ the work in the sense of accepting or rejecting it.”); see
also Donaldson Publ’g Co. v. Bregman, 375 F.2d 639, 643 (2d Cir. 1967).

Marvel therefore has the hefty burden of demonstrating that each Creator’s specific works were created
at the “instance and expense” of a revolving door of varying shell companies that registered the
copyrights in such works, when the evidence points to the purchase of freelance material for publication
after its completion. Considering the dozens of different characters and comic books in question, coupled
with the varying working relationships of each Creator, and the disorganized shoddy recordkeeping of
Marvel’s predecessors from the 1960s and 1970s, Marvel’s burden of proof in these cases is daunting. It
is for this reason that Marvel seeks to treat these cases as one so as to paint with a broad brush and gloss
over the factual complexities that these cases actually present. This Court should decline Marvel’s request
for a thumb on the scale and deny its motion to consolidate. Johnson, 899 F.2d at 1285 (“considerations
of convenience and economy must yield to a paramount concern for a fair and impartial trial.”).

Third, there is no risk of inconsistent results because the outcomes of each defendant’s case will be guided
by each case’s differing facts. An important part of the consolidation inquiry asks whether the specific
risks of prejudice and confusion are overborne by the risk of inconsistent adjudications of common
factual and legal issues. Johnson, 899 F.2d at 1284-85. Here, there is no risk of inconsistent adjudications.
As stated, work-for-hire is a fact-intensive inquiry determined by the specific circumstances of a work’s
creation. Urbont, 831 F.3d at 90. As such, any difference in the outcome in the Lieber, Dettwiler, or Ditko
cases will merely be a result of the differing factual scenarios the Court is presented with. Dashnaw v.
Usen, 2006 WL 1742174, 2006 U.S. Dist. LEXIS 41498, at *13 (N.D.N.Y. June 21, 2006) (refusing to
consolidate, reasoning that “there is virtually no threat of inconsistent verdicts if we did not consolidate
these cases inasmuch as it appears that each case is likely to have independent, and possibly contrary,
outcomes based upon their own unique facts and circumstances.”). There is no risk of inconsistent
adjudication in these matters and for these reasons, the Court should not consolidate these three distinct
cases.
                                                CONCLUSION

For the foregoing reasons, Defendant Lieber respectfully requests that the Court deny Marvel’s motion
to consolidate the Lieber, Dettwiler, and Ditko actions.

Respectfully submitted,

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